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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: December 17, 2008


____________________________________________________________


B0603819

                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

In Re:                                              CASE NO. 06-11536

         LaRue Wilson                               CHAPTER 13

                Debtor                              JUDGE JEFFREY HOPKINS

                                                    (1833 Hewitt Avenue, Cincinnati)


         STIPULATED ORDER GRANTING CONDITIONAL RELIEF FROM STAY


         This matter came on for consideration by the Court upon the Motion of GMAC Mortgage

Corporation its successors and assigns, by and through its servicer, GMAC Mortgage, LLC

(“Movant”) for relief from stay.

         The Court finds that the parties have agreed that:

         1.     Beginning January 1, 2009, Debtors shall continue to make the monthly mortgage

payments directly to the Movant. If the Debtors fall more than 30 days behind in their payments
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to the Movant, this failure to pay Movant shall constitute a default of the terms of this Order.

The terms and conditions of the note and mortgage remain unaffected by this Stipulated

Order. Debtors shall tender mortgage payments to Movant at the following address:

GMAC Mortgage LLC, 1100 Virginia Dr., Ft. Washington, PA 19034.

       2.      The Debtors presently owe Movant $2,989.00 for monthly payments (August

2008 through December 2008 at $571.88 each), and attorney fees and costs. $650.00, which

represents $500.00 attorney fees and $150.00 costs associated with the filing of the Motion for

Relief shall be placed into the plan as a supplemental proof of claim. Debtors agree not to object

to this supplemental proof of claim. Debtors shall remit the remaining sum of $2,339.00 to

Movant in 6 equal monthly payments of $389.83 commencing on January 15, 2009. The second

payment of $389.83 shall be remitted to Movant on February 15, 2009. The third payment of

$389.83 shall be remitted to Movant on or before March 15, 2009. The fourth payment of

$389.83 shall be remitted to Movant on or before April 15, 2009. The fifth payment of $389.83

shall be remitted to Movant on or before May 15, 2009. The sixth and last payment of $389.83

shall be remitted to Movant on or before June 15, 2009. The failure of Debtors to remit the

arrearage payments on or before the due date shall constitute a default. The parties are in

agreement that the Debtors should only pay and the Creditor should only receive what is

actually owed, no more and no less. If it is discovered that certain payments or advances

were not properly credited or accounted for, then the parties agree that the Stipulated

Order shall be modified to accurately reflect the status of the account. The funds to make

these extra payments are going to come from refused payments and budget tightening.
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       3.      Should Debtors convert to another chapter under the bankruptcy code during the

life of this agreed order, then, Movant’s counsel shall send written notice to Debtors’ counsel

advising that the entire contractual arrearage is due within 10 days of the date of the letter. If the

entire arrearage is not tendered within that 10-day period, then such failure shall constitute a

default.

       4.      In the event such payments stated above are not timely made, then an event of

default hereunder shall exist, and Movant’s counsel shall send Debtors’ counsel a 10-day notice

of intent to file an affidavit and order granting relief from stay. If the default is not cured within

that 10-day period, upon the filing of an affidavit by Movant or Movant’s counsel attesting to the

Debtors’ default, an order shall be entered without further hearing, terminating the stay imposed

by section 362(a) of the Bankruptcy Code with respect to Movant, its successors and assigns, to

foreclose, repossess, replevin or otherwise execute upon its collateral, identified in Exhibit A

attached hereto and incorporated herein by reference. Debtors’ opportunity to cure a default

shall be limited to 3 occurrences.



       IT IS SO ORDERED.
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SUBMITTED AND APPROVED BY:

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